Case 1:19-cr-10080-LTS Document 2719-6 Filed 08/15/23 Page 1 of 3




         EXHIBIT 6
Edit Email - USA WaterCase
                       Polo - 1:19-cr-10080-LTS
                              Webpoint                                Document 2719-6      Filed
                                                                                  https://wp      08/15/23
                                                                                             .usawaterpolo     Page
                                                                                                           .com/wp     2 of 3
                                                                                                                   15/Activities/EditActivity.wp? Ac ...




            €)Email   - ID: 4637405


         Message       8-        Emails   Sent

        Activity Code: ODP Invitation Notice                                                    ~Done

        Sent By:                                                                                Anne Laurence
        Sent To:                                                                                John Wilson
        Date Sent:                                                                              7/27/20101:43:00 PM
        Subject:                                                                                USAWP - ODP Invitation Notice
        Message:




        Dear John Wilson

        CONGRATULATIONS on being selected for your respective ODP Zone Training Team! The entire Olympic Development Department is happy to formally
        welcome you to USA Water Polo's Olympic Development Pipeline. Your selection is an important part of the Olympic Development Program and you will
        soon have the opportunity to integrate yourself into our highly successful system. Click here for the ODP Handbook that provides an in depth description of
        the entire Olympic Development Program.


        The Olympic Development Program is moving in a new and exciting direction in 2010-11. We have in place 6 principles that will be the driving force of the
        Olympic Development Program. (1) Respect for the Game; (2) Feeder System for the Youth, 17u 15u and 14u National Teams; (3) Progressive Learning of
        the American System of Play; (4) Evaluative Standards for Long Term Improvement; (5) Opportunity to be seen by National Team Coaches; (6) Raise
        College Profile. It is our goal that through our ODP principles we will be able to provide a true value of excellence and service to athletes, coaches and
        referees who are selected to the Olympic Development Program. Please keep this letter for your college records. One of our principles of the Olympic
        Development Program is to raise your college profile and with your selection you are now part of a select group of athletes in our country.


        The purpose of the Olympic Development Program is to serve as the feeder system for USA Water Polo's 17 and under, 15 and under and 14 and under
        National Teams. The foundation of the program is a systematic approach to athlete, coach, and referee development through a year round training program
        that stresses the importance of being physically fit with a strong overall technical base that inter-connects with tactical component of the game.


        After 32 hours of training, there will be 4 Regional Championships held at different times around the country. Following the Regional Championships, a
        collaboration of a National Teams Staff member, the National Technical Director, the Regional Technical Director and Zone Head and Assistant Coaches will
        select Zone athletes to represent their respective Region at the National Training and Selection Camp. A total of 70 players will be selected respectively for
        the 11th grade and under, 9th grade and 8th grade and under ODP National Training and Selection Camp. Following each National Training and Selection
        Camp the 17u, 15u and 14u National Teams will be named.


        With your selection come some responsibilities that are very important. As mentioned the ODP Handbook is provided with this letter. Please read and have
        your parents read the ODP Handbook because there are important guidelines and deadlines that must be followed. To accept this invitation to the ODP
        program, please follow the registration instructions below.


        Registration Instructions:

           • Click here to log into your USA Waterpolo Membership Account.
             o Your Username is 463507
              o If you forgot your password, please click here.
           • Once you are logged in, you will see a link to register for ODP on your homepage.
           • On the final page of the registration process you will have the ability to select how you wish to pay for your ODP registration.
           • Once you submit your regsitration, please check back to the homepage of your membership account to review any other important information relating
             toODP.



        Once again congratulations on your great achievement. You join a select group of athletes and your journey is now one step further in the Olympic
        Development Pipeline.




                                                                                USAWP-021
1 of2                                                                                                                                                         3/19/19, 9:14 AM


                                                                                                                                            VB-RECORDS-00131632
                                                                           EX. 8030 p. 1 of 2
Edit Email - USA WaterCase
                       Polo - 1:19-cr-10080-LTS
                              Webpoint                         Document 2719-6      Filed
                                                                           https://wp      08/15/23
                                                                                      .usawaterpolo     Page
                                                                                                    .com/wp     3 of 3
                                                                                                            15/Activities/EditActivity.wp? Ac ...



        Sincerely.




        Guy Baker




                                                                                                                                           USA
                                                                                                                                           0


        AC_ID 1022


                                     Entered: 7127/2010 1:48:00 PM By: Anne Laurence II Modified: 7127/2010 1:48:00 PM By: Anne Laurence




                                   (0: = Editable only by SysAdmin. Please enter a HelpDesk task for assistance.)
                                (0: = Editable only by Advanced Users. Please call the national office for assistance.)


                                                                          Powered by

                                                                        V.bpoi1nt




                                                                             USAWP-022
2of2                                                                                                                                               3/19/19, 9:14 AM


                                                                                                                                           VB-RECORDS-00131633
                                                                     EX. 8030 p. 2 of 2
